                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

   IN RE:                                               )
                                                        )
   INTEGRATED HEALING TECHNOLOGIES,                     )
   LLC,                                                 )      Case No: 3:18-bk-04526
                                                        )      Chapter 7
                                                        )      Judge Mashburn
                 Debtor.                                )

      EXPEDITED MOTION FOR AUTHORIZATION TO OPERATE BUSINESS

            John C. McLemore, Chapter 7 Trustee herein (the “Trustee”) files this Expedited

   Motion for Authorization to Operate Business (the “Motion”) seeking authority to operate

   the Debtor’s business, in a limited capacity, and in support thereof shows this Court as

   follows:


                            NECESSITY FOR EXPEDITED RELIEF

            1.       By this Expedited Motion and pursuant to Local Rule 9075-1, the Trustee

   seeks entry of an Order (1) shortening the notice required by Local Rule 9013-1 for

   responding to the Motion and establishing a response deadline of July 17, 2018 at 9:00

   a.m. and (2) expediting a hearing on the Motion and scheduling such hearing for July 17,

   2018 at 9:00 a.m. (the “Hearing”).

            2.       The Trustee seeks to have the Motion decided on an expedited basis

   because the business is believed to have significant value as a going concern. The

   Trustee is aware of approximately 50 orders for the Debtor’s in-stock inventory that are

   pending. If these orders cannot be filled in a timely manner, the customer list of the

   Debtor will be substantially devalued and the prospects of selling the business assets will

   be diminished.




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          3.      Notice of this Motion is being provided via the Court’s electronic case

   filing system to all parties having filed a notice, is being sent by email to the United

   States Trustee’s office and John Tishler, counsel for the Debtor, and is being mailed to

   the ten largest unsecured creditors. The Trustee submits that the notice of the Motion as

   provided for herein constitutes good and adequate notice of the Hearing.

          4.      The Trustee asks that the Court establish a response deadline of July 17,

   2018 at 9:00 a.m., and that it set a hearing for July 17, 2018 at 9:00 a.m.

               MOTION FOR AUTHORIZATION TO OPERATE BUSINESS

          5.      The Trustee was duly appointed as Trustee in this Chapter 7 bankruptcy

   case, has been duly qualified, and is now serving in said capacity.

          6.      The Debtor’s primary business is the production of a product known as

   PhaseOne, a fast-acting skin and wound cleanser that penetrates and disrupts biofilm,

   killing bacteria and fungi as well as neutralizing resulting toxins. The Debtor’s inventory

   includes a large supply of PhaseOne product, and there is significant demand for

   PhaseOne from physicians and other medical professionals.

          7.      The Trustee is aware of approximately fifty pending orders for the

   Debtor’s inventory. The Trustee would like to continue shipping the Debtor’s finished

   product to these medical professionals, according to the ordinary terms of their business

   arrangements with the Debtor.

          8.      In his business judgment, the Trustee believes that continuing to service

   these customers, as long as there is finished product to do so, is in the best interest of this

   estate and its creditors. The Trustee believes that, were he to stop shipping product to

   customers, that the value of the business assets, including the customer list, would be




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   substantially reduced. By continuing these limited operations of the Debtor’s business,

   the Trustee is preserving the value of the Debtor’s inventory and intellectual property.

          9.      The Trustee would propose to operate the Debtor’s business only until

   such time as he can effectuate a sale of the Debtor’s assets, pursuant to 11 U.S.C. § 363.

          10.     In order to continue the operation of the Debtor’s business, it will be

   necessary for the Trustee to retain certain employees. The Trustee proposes to retain the

   services of Stacy Bence, who is a former employee of the Debtor and is familiar with the

   Debtor’s order processing systems. The Trustee proposes to pay Ms. Bence a wage of

   $50.00 per hour that she spends processing orders for this estate. The Trustee also

   proposes to retain Grace Boughey to perform bookkeeping for this estate at a rate of

   $75.00 per hour.     Finally, the Trustee wishes to employ Mike Curry to perform

   administrative tasks needed in the operation of the Debtor’s business. The Trustee

   proposes to pay Mr. Curry $100.00 per hour for these services.1 The Trustee would

   propose to pay these employees from assets of the estate on a bi-weekly basis, and will

   file reports with the Court disclosing all amounts paid to these employees.

          11.     11 U.S.C. § 721 provides: “The court may authorize the trustee to operate

   the business of the debtor for a limited period, if such operation is in the best interest of

   the estate and consistent with the orderly liquidation of the estate.” The Trustee seeks to

   operate this Debtor’s business for a limited time, only until a §363 sale can be concluded.

   1
     Mr. Curry is an employee of the Trustee’s law firm and frequently performs paralegal
   and financial analysis functions for that law firm. The Trustee seeks to avoid profiting
   from Mr. Curry’s administrative functions performed for this estate. Therefore, the
   Trustee proposes to bill Mr. Curry’s legal and financial services through his law firm, as
   approved by the Court in fee applications, but wishes to pay Mr. Curry directly from the
   estate for all administrative functions so that the Trustee does not share in any such
   wages. The Trustee will ensure that time is properly allocated and that no double-billing
   occurs.

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   Thus, this request is consistent with the orderly liquidation of this Debtor’s assets. As

   demonstrated herein, the continued operation of the business is in the best interest of the

   estate and its creditors because it preserves the value of the Debtor’s inventory and

   intellectual property.

          WHEREFORE, pursuant to LBR 9075-1 and 11 U.S.C. § 721, the Trustee

   respectfully requests the Court to enter an order (i) establishing a response deadline of

   July 17, 2018 at 9:00 a.m., (ii) setting a hearing in this matter for July 17, 2018 at 9:00

   a.m., (iii) authorizing the Trustee’s continued operation of the Debtor’s business, and (iv)

   such other and further relief as the Court finds just and proper.



   Dated: July 13, 2018



                                                         Respectfully Submitted,

                                                         /s/ Phillip G. Young, Jr.
                                                         Phillip G. Young, Jr.
                                                         Thompson Burton PLLC
                                                         One Franklin Park
                                                         6100 Tower Circle, Suite 200
                                                         Franklin, TN 37067
                                                         Tel: 615-465-6008
                                                         phillip@thompsonburton.com

                                                         Counsel to Trustee




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   IN RE:                                                 )
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   INTEGRATED HEALING TECHNOLOGIES,                       )
   LLC,                                                   )       Case No: 3:18-bk-04526
                                                          )       Chapter 7
                                                          )       Judge Mashburn
            Debtor.                                       )

              ORDER AUTHORIZING TRUSTEE TO OPERATE BUSINESS

          Upon consideration of the notice and expedited motion of John C. McLemore,
   Trustee, for authority to continue operations of the business of the Debtor in the above-
   styled matter;

           And it appearing to the Court that relief sought by the Trustee is necessary and in the
   best interest of the estate and its creditors; It is hereby;

          ORDERED that John C. McLemore, Trustee, is authorized pursuant to 11 U.S.C.
   §721 to continue fill orders received by the Debtor from the Debtor’s finished inventory,
   according to the pre-petition ordinary business terms between the Debtor and its customers,


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   until such time as the Trustee is successful in selling substantially all of the Debtor’s assets
   pursuant to 11 U.S.C. §363; and

           IT IS FURTHER ORDERED that the Trustee is entitled to hire Stacy Bence at an
   hourly rate of $50.00, Grace Boughey at an hourly rate of $75.00, and Mike Curry at an
   hourly rate of $100.00 to perform the tasks delineated in the Motion and as needed to
   operate the business consistent with the terms of this Order; and

          IT IS FURTHER ORDERED that nothing herein shall prevent any creditor from
   seeking reconsideration of this matter in the future.




      This Order was signed and entered electronically as indicated at the top of the first page




   APPROVED FOR ENTRY:

   /s/ Phillip G. Young, Jr.
   Phillip G. Young, Jr.
   Thompson Burton PLLC
   One Franklin Park
   6100 Tower Circle, Suite 200
   Franklin, TN 37067
   Tel: 615-465-6008
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   Counsel to Trustee




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                               CERTIFICATE OF SERVICE

          I hereby certify that a copy of the preceding Expedited Motion for Authorization
   to Operate Business has been served this 13th day of July, 2018 via the Court’s ECF
   system and upon the following parties by email and/or U.S. First Class mail:

   Megan Seliber – United States Trustee’s Office
   By Email – Megan.Seliber@usdoj.gov

   John Tishler – Debtor’s Attorney
   By ECF & Email – John.Tishler@wallerlaw.com

   Gary Ferguson
   9233 Old Smyrna Road
   Brentwood, TN 37027

   FirstBank
   211 Commerce Street, Suite 300
   Nashville, TN 37201

   Five Star Venture Funding
   2002 Tyne Blvd.
   Nashville, TN 37215

   Fred Goad
   917 Stuart Lane
   Brentwood, TN 37027

   Graymar Investors
   411 Great Circle Rd.
   Nashville, TN 37228

   Robert Lipman
   411 Great Circle Rd.
   Nashville, TN 37228

   Keith Mullins
   301 Plus Park Blvd., Ste. 500
   Nashville, TN 37217

   Linda Rebrovick
   5202 Close Cir.
   Nashville, TN 37205




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   Albert Rodewald
   4814 Byrd Lane
   College Grove, TN 37046

   Timothy J. Patton Trust
   2100 Londonderry
   Ann Arbor, MI 48104


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                                                 Counsel to Trustee




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